   Case: 1:22-cv-05072 Document #: 110 Filed: 10/28/24 Page 1 of 2 PageID #:1388




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 JACQUELINE STEVENS,                              )
                                                  )
                                Plaintiff,        )
                                                  )
                                                       No. 22 C 5072
                       v.                         )
                                                  )
                                                       Judge Kennelly
 UNITED STATES DEPARTMENT OF                      )
 HEALTH AND HUMAN SERVICES, et al.,               )
                                                  )
                                Defendants.       )

                       JOINT STATUS REPORT REGARDING EOIR

        At the court’s direction, the parties in this Freedom of Information Act case jointly submit

this status report regarding “the steps necessary to bring this case to a prompt conclusion with

respect to EOIR” (Dkt. 103).

        1.     Defendant Executive Office of Immigration Review produced additional records in

response to the court’s recent summary judgment ruling, and plaintiff Jacqueline Stevens has

reviewed that production.

        2.     The production included several pages of responsive records that EOIR redacted in

full based on the fact that EOIR referred those pages to ICE for review and processing by ICE.

        3.     ICE expects to be able to process and produce the records in question within 30

days.
   Case: 1:22-cv-05072 Document #: 110 Filed: 10/28/24 Page 2 of 2 PageID #:1389




       4.     Accordingly, the parties suggest that they file another status report in around 45

days, to let the court know whether any issues remain regarding EOIR.

                                           Respectfully submitted,

                                           MORRIS PASQUAL
                                           Acting United States Attorney

                                           By: s/ Alex Hartzler
                                              ALEX HARTZLER
                                              Assistant United States Attorney
                                              219 South Dearborn Street
                                              Chicago, Illinois 60604
                                              (312) 886-1390
                                              alex.hartzler@usdoj.gov

                                            s/ Nicolette Glazer
                                           NICOLETTE GLAZER
                                           Attorney for Plaintiff
                                           Law Office of Larry R. Glazer
                                           Watt Plaza
                                           1875 Century Park East #700
                                           Century City, California 90067
                                           (708) 435-0404
                                           nicolette@glazerandglazer.com




                                              2
